
Webb, Judge,
dissenting.
I find myself unable to agree with the opinion of the majority as to the construction of Code Ann. § 26-2610 (b). To me, the statute refers to the use of obscene and vulgar *269or profane language by telephone to any person under the age of 14 years, whether that person be male or female. Why would there be any difference with reference to age as to a male or female? Of even more concern to me, however, is what is "obscene and vulgar or profane language” in this day and age? I doubt that anyone can say with the certainty required by the First Amendment, and for that reason I would think the statute too vague and indefinite to be enforceable, the majority opinion of the Supreme Court in Breaux v. State, 230 Ga. 506 (197 SE2d 695), to the contrary notwithstanding.
